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              . BRUTO    N      UNITED STATES DISTRICT COURT
   THOMA.SDGIS T R IC T COURT   NORTHERN DISTRICT OF ILLINOIS
CLERK, U .S
                                      EASTERN DIVISION


     UNITED STATES OF AMERICA                       Case No. 21 CR 228

                  v.                                Violation: Title 18, United States Code,
                                                    Section 922(o)(1)
     KALIL WARNER

                                                                       JUDGE COLEMAN
                                           COUNT ONE
                                                                   MAGISTRATE JUDGE VALDEZ
              The SPECIAL NOVEMBER 2020 GRAND JURY charges:

              On or about January 22, 2021, at Chicago, in the Northern District of Illinois,

    Eastern Division,

                                         KALIL WARNER,

    defendant herein, did knowingly transfer and possess a machinegun, as defrned in

    Title 26, United States Code, Section 5845(b), namely, one Glock Conversion Device,

    a   part designed and intended solely and exclusively for use in converting a weapon

    into a machinegun;

              In violation of Title 18, United States Code, Section 922(o)(1).
                                   COUNT TWO

      The SPECIAL NOVEMBER 2020 GRAND JURY further charges:

      On or about January 25, 2021, at Chicago, in the Northern District of Illinois,

Eastern Division,

                                 KALIL WARNER,

defendant herein, did knowingly transfer and possess a machinegun, as defined in

Title 26, United States Code, Section 5845G), namely components designed and

intended to be assembled. into Glock Conversion Devices, which combination of parts

was designed and intended solely and exclusively for use in converting a weapon into

a machinegun;

      In violation of Title 18, United States Code, Section 922(o)(1).
                                   COUNT THREE

      The SPECIAL I{OVEMBER 2020 GRAND JURY further charges:

      On or about January   27   , 2021, at Chicago, in the Northern District   of Illinois,

Eastern Division,

                                   KALIL WARNER,

defendant herein, did knowingly transfer and possess a machinegun, as defi.ned in

Tit1e 26, United States Code, Section 5845(b), namely components designed and

intended to be assembled into Glock Conversion Devices, which combination of parts

was designed and intended solely and exclusively for use in converting a weapon into

a machinegun;

      In violation of Title 18, United States Code, Section 922(o)(L).
                                  COUNT FOUR

      The SPECIAL NOVEMBER 2020 GRAND JURY further charges:

      On or about February 3, 202I, at Chicago, in the Northern District of lllinois,

Eastern Division,

                                 KALIL WARNER,

defendant herein, did knowingly transfer and possess a machinegun, as defined in

Tit1e 26, United States Code, Section 5845(b), namely components designed and

intended to be assembled into Glock Conversion Devices, which combination of parts

was designed and intended solely and exclusively for use in converting a weapon into

a machinegun;

      In violation of Title 18, United States Code, Sections 922(o)(1) ar'd   2.
                                   COUNT FIVE

      The SPECIAL NOVEMBER 2020 GRAND JURY further charges:

      On or about March t0, 202L, at Chicago, in the Northern District of Illinois,

Eastern Division,

                                 KALIL WARNER,

defendant herein, did knowingly transfer and possess a machinegun, as defined in

Title 26, United States Code, Section 5845(b), namely, components designed and

intended to be assembled into Glock Conversion Devices, which combination of parts

was designed and intended solely and exclusively for use in converting a weapon into

a machinegun;

      In violation of Title 18, United States Code, Section 922(o)(l).



                                                     A TRUE BILL:



                                                     FOREPERSON

Signed by Timothy J. Storino on behalf of the
UNITED STATES ATTORNEY




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